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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION


UNITED STATES OF AMERICA                                                     PLAINTIFF

VS.                            NO. 4:14-CR-188-30-JLH

TRISTAN A. HIBBLER                                                         DEFENDANT


                                        ORDER

      Pending before the Court is a motion for issuance of summons and for revocation

of pretrial release. (Docket entry #592) For good cause shown, the motion for issuance

of summons is GRANTED. The Clerk is directed to issue summons to Defendant Tristan

A. Hibbler for appearance at a hearing before United States Magistrate Judge Beth Deere

on April 13, 2016, at 2:30 p.m. to show cause why his pretrial release should not be

revoked.

      IT IS SO ORDERED this 6th day of April, 2016.



                                         ____________________________________
                                         UNITED STATES MAGISTRATE JUDGE
